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     In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                        No. 12-630V
                                    Filed: March 6, 2017

***********************                                       UNPUBLISHED
BAILEY DAY                                    *
                                              *               Case No. 12-630 V
       Petitioner,                            *
                                              *
v.                                            *               Chief Special Master Dorsey
                                              *
SECRETARY OF HEALTH                           *               Damages Award; Neuromyelitis
AND HUMAN SERVICES,                           *               Optica (“NMO”); Human Papilloma
                                              *               Virus (“HPV”) Vaccine; Proffer.
      Respondent.                             *
***********************
Anne Carrion Toale, Maglio, Christopher & Toale, Sarasota, FL, for petitioner.
Gordon Elliot Shemin, U.S. Department of Justice, Washington, D.C., for respondent.

                            DECISION AWARDING DAMAGES 1

        On September 24, 2012, Laura Day filed a petition for compensation under the National
Vaccine Injury Compensation Program (“the Program”), 2 as the legal representative of her then-
minor daughter, Bailey Day, in which she alleged that the Gardasil (“HPV”) and FluMist
(“influenza”) vaccinations Bailey received on September 28, 2011, caused her to develop multiple
sclerosis (“MS”). Petition at 3, ¶11. After the filing of the petition, it was discovered that Bailey
actually suffers from a rare autoimmune disorder known as neuromyelitis optica (“NMO”) or
Devic’s Syndrome, rather than MS. See Petitioner’s (“Pet’r’s”) Exhibit (“Ex.”) 6 at 13.

        On November 13, 2015, the undersigned issued a decision finding that petitioner was
entitled to compensation. During the time in which this case was being adjudicated, Bailey Day


1
 Because this decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review,
the undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. § 300aa.


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turned 18 years old and was made the petitioner in her case. On May 31, 2016, the undersigned
awarded Bailey interim damages for past pain and suffering in the amount of $250,000.00. 3

        On March 3, 2017, respondent filed a Proffer on Award of Compensation (“Proffer”). In
the Proffer, respondent represented that petitioner agrees with the proffered award. Based on the
record as a whole, the undersigned finds that petitioner is entitled to an award as stated in the
Proffer.

        Pursuant to the terms stated in the attached Proffer, the undersigned awards petitioner:

         (1) A lump sum payment of $1,283,828.14, representing compensation for life care
             expenses expected to be incurred during the first year after judgment
             ($305,186.22), lost earnings ($968,386.45), and past unreimbursable expenses
             ($10,255.47), in the form of a check made payable to petitioner, Bailey Day.

         (2) A lump sum payment in the amount of $7,584.74, representing compensation for
             satisfaction of the State of Indiana Medicaid lien, in the form of a check made
             payable to petitioner, Bailey Day and

                                               Anthem BCBS, Inc.
                                                Attn: Anel Mendez
                                               21555 Oxnard Street
                                                Mail Drop AC-10C
                                             Woodland Hills, CA 91367
                                              Tax ID No. XX-XXXXXXX
                                              Policy No: IN0726491

         (3) An amount sufficient to purchase the annuity contract described in section II.C.
             of the Proffer.

Proffer at 5.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
the Court SHALL ENTER JUDGMENT herewith. 4




3
 Respondent filed a motion for review of this decision on June 30, 2016, and the decision was
affirmed by Judge Wolski on December 7, 2017. The final judgment awarding interim damages
was entered on January 18, 2017. Because petitioner has already received the maximum amount
of pain and suffering damages permitted by the statute, pain and suffering damages are not
awarded in this decision.
4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


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IT IS SO ORDERED.

                            s/Nora Beth Dorsey
                            Nora Beth Dorsey
                            Chief Special Master




                               3
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
BAILEY DAY,                          )
                                     )
            Petitioner,              )  No. 12-630V
                                     )  Chief Special Master Dorsey
      v.                             )  ECF
                                     )
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                     )
                                    )
            Respondent.             )
                                     )

               RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

I.       Items of Compensation

         A.       Life Care Items

         Respondent engaged life care planner Linda Curtis, RN, MS, CCM, CNLP, and petitioner

engaged Tresa Johnson, RN, BSN, CLCP, to provide an estimation of Bailey Day’s future

vaccine-injury related needs. For the purposes of this proffer, the term “vaccine related” is as

described in the Chief Special Master’s Ruling on Entitlement, filed November 13, 2015. All

items of compensation identified in the life care plan are supported by the evidence, and are

illustrated by the chart entitled Appendix A: Items of Compensation for Bailey Day, attached

hereto as Tab A. 1 Respondent proffers that Bailey Day should be awarded all items of

compensation set forth in the life care plan and illustrated by the chart attached at Tab A.

Petitioner agrees.




         1
           The chart at Tab A illustrates the annual benefits provided by the life care plan. The annual benefit years
run from the date of judgment up to the first anniversary of the date of judgment, and every year thereafter up to the
anniversary of the date of judgment.

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          B.     Lost Earnings

          The parties agree that based upon the evidence of record, Bailey Day has suffered past

loss of earnings and will suffer a loss of earnings in the future. Therefore, respondent proffers

that Bailey Day should be awarded lost earnings as provided under the Vaccine Act, 42 U.S.C. §

300aa-15(a)(3)(B). Respondent proffers that the appropriate award for Bailey Day’s lost

earnings is $968,386.45. Petitioner agrees.

          C.     Pain and Suffering

          On May 31, 2016, the Chief Special Master issued a decision awarding compensation on

an interim basis, awarding pain and suffering in the amount of $250,000.00. An amended

judgment for this component of damages entered on January 18, 2017. This item of

compensation has been paid. Therefore, respondent proffers that petitioner is not entitled to any

additional compensation for pain and suffering under 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          D.     Past Unreimbursable Expenses

          Evidence supplied by petitioner documents her expenditure of past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $10,255.47. Petitioner agrees.

          E.     Medicaid Lien

          Respondent proffers that Bailey Day should be awarded funds to satisfy a State of

Indiana lien in the amount of $7,584.74, which represents full satisfaction of any right of

subrogation, assignment, claim, lien, or cause of action the State of Indiana may have against any

individual as a result of any Medicaid payments the State of Indiana has made to or on behalf of

Bailey Day from the date of her eligibility for benefits through the date of judgment in this case




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as a result of her vaccine-related injury suffered on or about October 1, 2011, under Title XIX of

the Social Security Act.

II.      Form of the Award

         The parties recommend that the compensation provided to Bailey Day should be made

through a combination of lump sum payments and future annuity payments as described below,

and request that the Chief Special Master’s decision and the Court’s judgment award the

following: 2

         A. A lump sum payment of $1,283,828.14, representing compensation for life care

expenses expected to be incurred during the first year after judgment ($305,186.22), lost earnings

($968,386.45), and past unreimbursable expenses ($10,255.47), in the form of a check payable to

petitioner, Bailey Day.

         B. A lump sum payment of $7,584.74, representing compensation for satisfaction of the

State of Indiana Medicaid lien, payable jointly to petitioner and

                                            Anthem BCBS, Inc.
                                             Attn: Anel Mendez
                                            21555 Oxnard Street
                                             Mail Drop AC-10C
                                          Woodland Hills, CA 91367
                                           Tax ID No. XX-XXXXXXX
                                           Policy No: IN0726491

Petitioner agrees to endorse this payment to the State.

         C. An amount sufficient to purchase an annuity contract, 3 subject to the conditions

described below, that will provide payments for the life care items contained in the life care plan,




         2
           Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court for
appropriate relief. In particular, respondent would oppose any award for future medical expenses, future lost
earnings, and future pain and suffering.
         3
           In respondent’s discretion, respondent may purchase one or more annuity contracts from one or more life
insurance companies.

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as illustrated by the chart at Tab A, attached hereto, paid to the life insurance company 4 from

which the annuity will be purchased. 5 Compensation for Year Two (beginning on the first

anniversary of the date of judgment) and all subsequent years shall be provided through

respondent’s purchase of an annuity, which annuity shall make payments directly to petitioner,

Bailey Day, only so long as Bailey Day is alive at the time a particular payment is due. At the

Secretary’s sole discretion, the periodic payments may be provided to petitioner in monthly,

quarterly, annual or other installments. The “annual amounts” set forth in the chart at Tab A

describe only the total yearly sum to be paid to petitioner and do not require that the payment be

made in one annual installment.

         1.       Growth Rate

         Respondent proffers that a four percent (4%) growth rate should be applied to all non-

medical life care items, and a five percent (5%) growth rate should be applied to all medical life

care items. Thus, the benefits illustrated in the chart at Tab A that are to be paid through annuity

payments should grow as follows: four percent (4%) compounded annually from the date of

judgment for non-medical items, and five percent (5%) compounded annually from the date of

judgment for medical items. Petitioner agrees.



         4
          The Life Insurance Company must have a minimum of $250,000,000 capital and surplus, exclusive of
any mandatory security valuation reserve. The Life Insurance Company must have one of the following ratings
from two of the following rating organizations:

                  a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

                  b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

                  c. Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-, AA, AA+, or
                  AAA;

                  d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating: AA-, AA,
                  AA+, or AAA.
         5
           Petitioner authorizes the disclosure of certain documents filed by the petitioner in this case consistent
with the Privacy Act and the routine uses described in the National Vaccine Injury Compensation Program System
of Records, No. 09-15-0056.
                                                         -4-
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       2.      Life-contingent annuity

       Petitioner will continue to receive the annuity payments from the Life Insurance

Company only so long as she, Bailey Day, is alive at the time that a particular payment is due.

Written notice shall be provided to the Secretary of Health and Human Services and the Life

Insurance Company within twenty (20) days of Bailey Day’s death.

       3.      Guardianship

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

III.   Summary of Recommended Payments Following Judgment

       A.      Lump Sum paid to petitioner, Bailey Day:                    $1,283,828.14

       B.      Medicaid Lien:                                              $7,584.74

       C.      An amount sufficient to purchase the annuity contract described
               above in section II.C.


                                                     Respectfully submitted,

                                                     CHAD A. READLER
                                                     Acting Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     GLENN A. MACLEOD
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division




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                                           /s/ Gordon E. Shemin
                                           GORDON E. SHEMIN
                                           Trial Attorney
                                           Torts Branch, Civil Division
                                           U. S. Department of Justice
                                           P.O. Box l46, Benjamin Franklin Station
                                           Washington, D.C. 20044-0146
                                           Phone: (202) 616-4208
                                           Fax: (202) 353-2988
Dated: March 3, 2017




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                                                     Appendix A: Items of Compensation for Bailey Day                                Page 1 of 12

                                             Lump Sum
                                            Compensation   Compensation Compensation Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION      G.R.   *   M     Year 1        Years 2-4    Years 5-7     Year 8      Years 9-10    Year 11     Years 12-14   Year 15
                                               2017         2018-2020    2021-2023      2024       2025-2026      2027       2028-2030      2031
BCBS Premium                 5%         M       1,820.00       1,820.00     1,820.00
BCBS MOP & Deductible        5%                 4,000.00       4,000.00     4,000.00
BCBS Bronze Premium          5%         M                                                3,887.04     3,887.04     3,887.04     3,887.04     3,887.04
BCBS Bronze MOP              5%                                                          7,150.00     7,150.00     7,150.00     7,150.00     7,150.00
Medicare Adv Premium         5%         M
Medicare Adv MOP             5%
Medicare Part D              5%         M
Medicare Part B Premium      5%         M
Medicare Part B Deductible   5%
Medigap G                    5%         M
Neurologist                  5%     *
Mileage: Neurologist         4%                    31.96         31.96         31.96         31.96       31.96        31.96        31.96            31.96
Rituximab Infusion           5%     *
Lab Testing                  5%     *
Lab Work                     5%     *
MRI                          5%     *
Dexa Bone Scan               5%     *
PCP                          5%     *
Urinalysis                   5%     *
Physical Medicine & Rehab    5%     *
Mileage: PM&R                4%                    23.97         23.97         23.97         23.97       23.97        23.97        23.97            23.97
Urologist                    5%     *
Mileage: Urologist           4%                    30.94         30.94         30.94         30.94       30.94        30.94        30.94            30.94
Ultrasound of Bladder        5%     *
Urodynamic Study             5%     *
Plastic Surgeon              5%     *
Mileage: Plastic Surgeon     4%                     6.29           6.29         6.29          6.29        6.29         6.29         6.29             6.29
Neurologist - Mayo Clinic    5%     *
Airfare to Mayo Clinic       4%                 1,463.20       1,463.20     1,463.20
Hotel to Mayo Clinic         4%                   599.37         599.37       599.37
Rental Car Mayo Clinic       4%                   212.73         212.73       212.73
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                                          Lump Sum
                                         Compensation   Compensation Compensation Compensation Compensation Compensation Compensation Compensation
 ITEMS OF COMPENSATION    G.R.   *   M     Year 1        Years 2-4    Years 5-7     Year 8      Years 9-10    Year 11     Years 12-14   Year 15
                                            2017         2018-2020    2021-2023      2024       2025-2026      2027       2028-2030      2031
Parking Mayo Clinic       4%                   12.00           12.00        12.00
Meals Mayo Clinic         4%                  192.00          192.00       192.00
Neuro-opthalmologist      5%
Mileage: Neuro-opthal     4%                    15.98         15.98         15.98         15.98       15.98        15.98        15.98            15.98
Visual Field Exam         5%     *
Optic Nerve Imaging       5%     *
Opthalmologist            5%     *
Mileage: Opthalmologist   4%                     6.29          6.29          6.29          6.29        6.29         6.29         6.29          6.29
Glasses                   4%                   150.00        150.00        150.00        150.00      150.00       150.00       150.00        150.00
Inpatient Rehab           4%     *
Panniculectomy            0%                10,000.00
Mastopexy                 0%                 7,500.00
Brachioplasty             0%                 6,500.00
PT Eval                   4%     *
PT/ Aqua Therapy          4%     *
OT Eval                   4%     *
OT                        4%
Gabapentin                5%     *   M         120.00        120.00        120.00
Carbamazepine             5%     *   M         120.00        120.00        120.00
Tamsulosin                5%     *   M         120.00        120.00        120.00
Amitriptyline             5%     *   M         120.00        120.00        120.00
Prednisone                5%     *   M         120.00        120.00        120.00
Ondansteron               5%     *   M         120.00        120.00        120.00
Biotin                    4%                    60.80         60.80         60.80         60.80       60.80        60.80        60.80         60.80
Vit D3                    4%                    30.39         30.39         30.39         30.39       30.39        30.39        30.39         30.39
B12                       4%                    38.29         38.29         38.29         38.29       38.29        38.29        38.29         38.29
Tylenol                   4%                    26.97         26.97         26.97         26.97       26.97        26.97        26.97         26.97
Omeprazole                4%                   197.91        197.91        197.91        197.91      197.91       197.91       197.91        197.91
Calcium                   4%                    17.37         17.37         17.37         17.37       17.37        17.37        17.37         17.37
Adj Bed                   4%                 1,500.00                                                           1,500.00
Mattress Cover            4%                    20.79         20.79         20.79         20.79       20.79        20.79        20.79            20.79
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                                                  Appendix A: Items of Compensation for Bailey Day                                Page 3 of 12

                                          Lump Sum
                                         Compensation   Compensation Compensation Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION   G.R.   *   M     Year 1        Years 2-4    Years 5-7     Year 8      Years 9-10    Year 11     Years 12-14   Year 15
                                            2017         2018-2020    2021-2023      2024       2025-2026      2027       2028-2030      2031
Hoyer Lift                4%                 1,099.00                                                           1,099.00
Hoyer Slings              4%                   180.00         180.00       180.00      180.00        180.00       180.00        180.00     180.00
Walker                    4%                   168.82                                  168.82                                              168.82
Exercise Platform         4%                   444.77
Balance Ball              4%                     7.66                                                               7.66
Bosu                      4%                   109.00                                                             109.00
Resistance Bands          4%                    24.99           8.33         8.33           8.33         8.33       8.33         8.33             8.33
Free Weights              4%                    50.26
Ankle Weights             4%                    45.00
Diapers                   4%         M       1,048.23       1,048.23     1,048.23       1,048.23     1,048.23   1,048.23     1,048.23       1,048.23
Wipes                     4%         M         247.66         247.66       247.66         247.66       247.66     247.66       247.66         247.66
Gloves                    4%         M         130.96         130.96       130.96         130.96       130.96     130.96       130.96         130.96
Sheet Protector           4%                    41.58          41.58        41.58          41.58        41.58      41.58        41.58          41.58
Disp Underpads            4%                   238.13         238.13       238.13         238.13       238.13     238.13       238.13         238.13
Reusable Underpads        4%                   155.88         155.88       155.88         155.88       155.88     155.88       155.88         155.88
Antibacterial Gel         4%                    95.40          95.40        95.40          95.40        95.40      95.40        95.40          95.40
AFOs                      4%     *
Hand/ Wrist Splints       4%     *
Reacher                   4%                    32.29          5.38          5.38          5.38         5.38        5.38         5.38             5.38
Allowance for Aids        4%                   150.00         50.00         50.00         50.00        50.00       50.00        50.00            50.00
Power WC                  4%     *
Power WC Maint            4%     *
Cushion                   4%     *
Cushion Cover             4%                    60.00         30.00         30.00          30.00       30.00       30.00        30.00          30.00
Manual WC                 4%                 1,747.50                                   1,747.50                                            1,747.50
Manual WC Maint           4%                    59.91         59.91         59.91          59.91       59.91       59.91        59.91          59.91
Cushion                   4%                    84.00         42.00         42.00          42.00       42.00       42.00        42.00          42.00
Cushion Cover             4%                    60.00         30.00         30.00          30.00       30.00       30.00        30.00          30.00
WC Pack                   4%                    24.00         12.00         12.00          12.00       12.00       12.00        12.00          12.00
Ramp                      4%                   115.99                                                             115.99
Case Mngt                 4%         M       3,960.00       3,960.00     2,970.00       2,970.00     2,970.00   2,970.00     2,970.00       2,970.00
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                                                               Appendix A: Items of Compensation for Bailey Day                                                   Page 4 of 12

                                                    Lump Sum
                                                   Compensation     Compensation Compensation Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION            G.R.   *   M      Year 1          Years 2-4    Years 5-7     Year 8      Years 9-10    Year 11     Years 12-14   Year 15
                                                      2017           2018-2020    2021-2023      2024       2025-2026      2027       2028-2030      2031
Counseling                         4%     *
Home Mods                          4%                  77,307.00
Modified Van                       4%                  63,826.35                                         51,010.08                                                          51,010.08
Ancillary Services: Housekeeping   4%         M         3,444.00         3,444.00         3,444.00        3,444.00         3,444.00         3,444.00        3,444.00         3,444.00
Ancillary Services: Lawn Care      4%                     392.40           392.40           392.40          392.40           392.40           392.40          392.40           392.40
Ancillary Services: Heavy Lawn
Care                               4%                     488.32           488.32           488.32          488.32           488.32           488.32          488.32             488.32

Ancillary Services: Snow Removal   4%                     289.87          289.87           289.87           289.87          289.87           289.87           289.87           289.87
Non-Skilled Care                   4%         M       113,880.00      113,880.00       113,880.00       113,880.00      113,880.00       113,880.00       113,880.00       113,880.00
Lost Earnings                                         968,386.45
Past Unreimbursable Expenses                           10,255.47
Medicaid Lien                                           7,584.74
Annual Totals                                       1,291,412.88      134,507.30       133,517.30       188,461.44      135,535.04       138,366.69       135,535.04      188,461.44
                                                  Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                                  Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                                  As soon as practicable after entry of judgment, respondent shall make the following payment to petitioner for Yr 1 life care
                                                  expenses ($305,186.22), lost earnings ($968,386.45), and past unreimbursable expenses ($10,255.47): $1,283,828.14.
                                                  As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                                  petitioner and Anthem BCBS, Inc., as reimbursement for a State of Indiana Medicaid lien: $7,584.74.
                                                  Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                                  Annual amounts shall increase at the rates indicated above in column G.R., compounded annually from the date of judgment.
                                                  Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                                  Items denoted with an "M" payable in twelve monthly installments totaling the annual amount indicated.
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                                            Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION      G.R.   *   M     Year 16      Year 17     Years 18-20   Year 21      Year 22     Years 23-26   Year 27     Years 28-29
                                               2032         2033       2034-2036      2037         2038       2039-2042      2043       2044-2045
BCBS Premium                 5%         M
BCBS MOP & Deductible        5%
BCBS Bronze Premium          5%         M       3,887.04      3,887.04       3,887.04      3,887.04      3,887.04   3,887.04   3,887.04
BCBS Bronze MOP              5%                 7,150.00      7,150.00       7,150.00      7,150.00      7,150.00   7,150.00   7,150.00
Medicare Adv Premium         5%         M                                                                                                     1,044.00
Medicare Adv MOP             5%                                                                                                               6,700.00
Medicare Part D              5%         M                                                                                                     1,068.12
Medicare Part B Premium      5%         M                                                                                                     1,608.00
Medicare Part B Deductible   5%                                                                                                                 183.00
Medigap G                    5%         M
Neurologist                  5%     *
Mileage: Neurologist         4%                   31.96          31.96         31.96          31.96        31.96      31.96      31.96              31.96
Rituximab Infusion           5%     *
Lab Testing                  5%     *
Lab Work                     5%     *
MRI                          5%     *
Dexa Bone Scan               5%     *
PCP                          5%     *
Urinalysis                   5%     *
Physical Medicine & Rehab    5%     *
Mileage: PM&R                4%                   23.97          23.97         23.97          23.97        23.97      23.97      23.97              23.97
Urologist                    5%     *
Mileage: Urologist           4%                   30.94          30.94         30.94          30.94        30.94      30.94      30.94              30.94
Ultrasound of Bladder        5%     *
Urodynamic Study             5%     *
Plastic Surgeon              5%     *
Mileage: Plastic Surgeon     4%                     6.29          6.29           6.29          6.29          6.29       6.29       6.29              6.29
Neurologist - Mayo Clinic    5%     *
Airfare to Mayo Clinic       4%
Hotel to Mayo Clinic         4%
Rental Car Mayo Clinic       4%
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                                         Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
 ITEMS OF COMPENSATION    G.R.   *   M     Year 16      Year 17     Years 18-20   Year 21      Year 22     Years 23-26   Year 27     Years 28-29
                                            2032         2033       2034-2036      2037         2038       2039-2042      2043       2044-2045
Parking Mayo Clinic       4%
Meals Mayo Clinic         4%
Neuro-opthalmologist      5%
Mileage: Neuro-opthal     4%                   15.98         15.98         15.98          15.98       15.98      15.98        15.98             15.98
Visual Field Exam         5%     *
Optic Nerve Imaging       5%     *
Opthalmologist            5%     *
Mileage: Opthalmologist   4%                    6.29          6.29          6.29           6.29        6.29       6.29         6.29           6.29
Glasses                   4%                  150.00        150.00        150.00         150.00      150.00     150.00       150.00         150.00
Inpatient Rehab           4%     *
Panniculectomy            0%
Mastopexy                 0%
Brachioplasty             0%
PT Eval                   4%     *
PT/ Aqua Therapy          4%     *
OT Eval                   4%     *
OT                        4%
Gabapentin                5%     *   M
Carbamazepine             5%     *   M
Tamsulosin                5%     *   M
Amitriptyline             5%     *   M
Prednisone                5%     *   M
Ondansteron               5%     *   M
Biotin                    4%                   60.80         60.80         60.80          60.80       60.80      60.80        60.80          60.80
Vit D3                    4%                   30.39         30.39         30.39          30.39       30.39      30.39        30.39          30.39
B12                       4%                   38.29         38.29         38.29          38.29       38.29      38.29        38.29          38.29
Tylenol                   4%                   26.97         26.97         26.97          26.97       26.97      26.97        26.97          26.97
Omeprazole                4%                  197.91        197.91        197.91         197.91      197.91     197.91       197.91         197.91
Calcium                   4%                   17.37         17.37         17.37          17.37       17.37      17.37        17.37          17.37
Adj Bed                   4%                                                           1,500.00      150.00     150.00       150.00         150.00
Mattress Cover            4%                   20.79         20.79         20.79          20.79       20.79      20.79        20.79          20.79
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                                                   Appendix A: Items of Compensation for Bailey Day                               Page 7 of 12


                                         Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION   G.R.   *   M     Year 16      Year 17     Years 18-20   Year 21      Year 22     Years 23-26   Year 27     Years 28-29
                                            2032         2033       2034-2036      2037         2038       2039-2042      2043       2044-2045
Hoyer Lift                4%                                                        1,099.00      109.90         109.90     109.90         109.90
Hoyer Slings              4%                  180.00       180.00         180.00      180.00      180.00         180.00     180.00         180.00
Walker                    4%                                                                      168.82          24.12       24.12         24.12
Exercise Platform         4%                  444.77
Balance Ball              4%                                                                7.66         0.77       0.77        0.77              0.77
Bosu                      4%                                                              109.00        10.90      10.90       10.90             10.90
Resistance Bands          4%                     8.33          8.33           8.33          8.33         8.33       8.33        8.33              8.33
Free Weights              4%
Ankle Weights             4%
Diapers                   4%         M       1,048.23      1,048.23       1,048.23      1,048.23      1,048.23   1,048.23   1,048.23       1,048.23
Wipes                     4%         M         247.66        247.66         247.66        247.66        247.66     247.66     247.66         247.66
Gloves                    4%         M         130.96        130.96         130.96        130.96        130.96     130.96     130.96         130.96
Sheet Protector           4%                    41.58         41.58          41.58         41.58         41.58      41.58      41.58          41.58
Disp Underpads            4%                   238.13        238.13         238.13        238.13        238.13     238.13     238.13         238.13
Reusable Underpads        4%                   155.88        155.88         155.88        155.88        155.88     155.88     155.88         155.88
Antibacterial Gel         4%                    95.40         95.40          95.40         95.40         95.40      95.40      95.40          95.40
AFOs                      4%     *
Hand/ Wrist Splints       4%     *
Reacher                   4%                    5.38           5.38          5.38           5.38         5.38       5.38        5.38              5.38
Allowance for Aids        4%                   50.00          50.00         50.00          50.00        50.00      50.00       50.00             50.00
Power WC                  4%     *
Power WC Maint            4%     *
Cushion                   4%     *
Cushion Cover             4%                   30.00          30.00         30.00          30.00         30.00      30.00      30.00          30.00
Manual WC                 4%                                                                          1,747.50     249.64     249.64         249.64
Manual WC Maint           4%                   59.91          59.91         59.91          59.91         59.91      59.91      59.91          59.91
Cushion                   4%                   42.00          42.00         42.00          42.00         42.00      42.00      42.00          42.00
Cushion Cover             4%                   30.00          30.00         30.00          30.00         30.00      30.00      30.00          30.00
WC Pack                   4%                   12.00          12.00         12.00          12.00         12.00      12.00      12.00          12.00
Ramp                      4%                                                              115.99         11.60      11.60      11.60          11.60
Case Mngt                 4%         M       2,970.00      2,970.00       2,970.00      2,970.00      2,970.00   2,970.00   2,970.00       2,970.00
                                          Case 1:12-vv-00630-VJW Document 164 Filed 03/31/17 Page 17 of 21
                                                               Appendix A: Items of Compensation for Bailey Day                                                   Page 8 of 12


                                                  Compensation Compensation Compensation Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION            G.R.   *   M     Year 16      Year 17     Years 18-20   Year 21      Year 22     Years 23-26   Year 27     Years 28-29
                                                     2032         2033       2034-2036      2037         2038       2039-2042      2043       2044-2045
Counseling                         4%     *
Home Mods                          4%
Modified Van                       4%                                                                                    51,010.08         5,101.01         5,101.01        5,101.01
Ancillary Services: Housekeeping   4%         M         3,444.00        3,444.00         3,444.00         3,444.00        3,444.00         3,444.00         3,444.00        3,444.00
Ancillary Services: Lawn Care      4%                     392.40          392.40           392.40           392.40          392.40           392.40           392.40          392.40
Ancillary Services: Heavy Lawn
Care                               4%                     488.32          488.32           488.32           488.32          488.32           488.32           488.32             488.32

Ancillary Services: Snow Removal   4%                    289.87           289.87           289.87          289.87           289.87           289.87          289.87           289.87
Non-Skilled Care                   4%         M      113,880.00       113,880.00       142,350.00      142,350.00       142,350.00       142,350.00      170,820.00       170,820.00
Lost Earnings
Past Unreimbursable Expenses
Medicaid Lien
Annual Totals                                        135,979.81       135,535.04       164,005.04      166,836.69       217,214.61       169,662.98      198,132.98       197,699.06
                                                  Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                                  Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                                  As soon as practicable after entry of judgment, respondent shall make the following payment to petitioner for Yr 1 life care
                                                  expenses ($305,186.22), lost earnings ($968,386.45), and past unreimbursable expenses ($10,255.47): $1,283,828.14.
                                                  As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                                  petitioner and Anthem BCBS, Inc., as reimbursement for a State of Indiana Medicaid lien: $7,584.74.
                                                  Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                                  Annual amounts shall increase at the rates indicated above in column G.R., compounded annually from the date of judgment.
                                                  Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                                  Items denoted with an "M" payable in twelve monthly installments totaling the annual amount indicated.
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                                            Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION      G.R.   *   M     Year 30      Year 31     Years 32-46  Years 47-54 Years 55-Life
                                               2046         2047       2048-2062    2063-2070    2071-Life
BCBS Premium                 5%         M
BCBS MOP & Deductible        5%
BCBS Bronze Premium          5%         M
BCBS Bronze MOP              5%
Medicare Adv Premium         5%         M       1,044.00      1,044.00       1,044.00
Medicare Adv MOP             5%                 6,700.00      6,700.00       6,700.00
Medicare Part D              5%         M       1,068.12      1,068.12       1,068.12        554.64        554.64
Medicare Part B Premium      5%         M       1,608.00      1,608.00       1,608.00      1,608.00      1,608.00
Medicare Part B Deductible   5%                   183.00        183.00         183.00        183.00        183.00
Medigap G                    5%         M                                                  1,418.88      1,418.88
Neurologist                  5%     *
Mileage: Neurologist         4%                   31.96          31.96         31.96          31.96        31.96
Rituximab Infusion           5%     *
Lab Testing                  5%     *
Lab Work                     5%     *
MRI                          5%     *
Dexa Bone Scan               5%     *
PCP                          5%     *
Urinalysis                   5%     *
Physical Medicine & Rehab    5%     *
Mileage: PM&R                4%                   23.97          23.97         23.97          23.97        23.97
Urologist                    5%     *
Mileage: Urologist           4%                   30.94          30.94         30.94          30.94        30.94
Ultrasound of Bladder        5%     *
Urodynamic Study             5%     *
Plastic Surgeon              5%     *
Mileage: Plastic Surgeon     4%                     6.29          6.29           6.29          6.29          6.29
Neurologist - Mayo Clinic    5%     *
Airfare to Mayo Clinic       4%
Hotel to Mayo Clinic         4%
Rental Car Mayo Clinic       4%
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                                                  Appendix A: Items of Compensation for Bailey Day            Page 10 of 12


                                         Compensation Compensation Compensation Compensation Compensation
 ITEMS OF COMPENSATION    G.R.   *   M     Year 30      Year 31     Years 32-46  Years 47-54 Years 55-Life
                                            2046         2047       2048-2062    2063-2070    2071-Life
Parking Mayo Clinic       4%
Meals Mayo Clinic         4%
Neuro-opthalmologist      5%
Mileage: Neuro-opthal     4%                   15.98         15.98         15.98          15.98       15.98
Visual Field Exam         5%     *
Optic Nerve Imaging       5%     *
Opthalmologist            5%     *
Mileage: Opthalmologist   4%                    6.29          6.29          6.29           6.29        6.29
Glasses                   4%                  150.00        150.00        150.00         150.00      150.00
Inpatient Rehab           4%     *
Panniculectomy            0%
Mastopexy                 0%
Brachioplasty             0%
PT Eval                   4%     *
PT/ Aqua Therapy          4%     *             70.00         23.33         23.33          23.33       23.33
OT Eval                   4%     *
OT                        4%                  395.00        131.67        131.67         131.67      131.67
Gabapentin                5%     *   M
Carbamazepine             5%     *   M
Tamsulosin                5%     *   M
Amitriptyline             5%     *   M
Prednisone                5%     *   M
Ondansteron               5%     *   M
Biotin                    4%                   60.80         60.80         60.80          60.80       60.80
Vit D3                    4%                   30.39         30.39         30.39          30.39       30.39
B12                       4%                   38.29         38.29         38.29          38.29       38.29
Tylenol                   4%                   26.97         26.97         26.97          26.97       26.97
Omeprazole                4%                  197.91        197.91        197.91         197.91      197.91
Calcium                   4%                   17.37         17.37         17.37          17.37       17.37
Adj Bed                   4%                  150.00        150.00        150.00         150.00      150.00
Mattress Cover            4%                   20.79         20.79         20.79          20.79       20.79
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                                                   Appendix A: Items of Compensation for Bailey Day              Page 11 of 12


                                         Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION   G.R.   *   M     Year 30      Year 31     Years 32-46  Years 47-54  Years 55-Life
                                            2046         2047       2048-2062    2063-2070     2071-Life
Hoyer Lift                4%                  109.90       109.90         109.90       109.90       109.90
Hoyer Slings              4%                  180.00       180.00         180.00       180.00       180.00
Walker                    4%                    24.12        24.12         24.12        24.12         24.12
Exercise Platform         4%                                 444.77         29.65          29.65        29.65
Balance Ball              4%                    0.77           0.77          0.77           0.77         0.77
Bosu                      4%                   10.90          10.90         10.90          10.90        10.90
Resistance Bands          4%                    8.33           8.33          8.33           8.33         8.33
Free Weights              4%
Ankle Weights             4%
Diapers                   4%         M       1,048.23      1,048.23       1,048.23      1,048.23      1,048.23
Wipes                     4%         M         247.66        247.66         247.66        247.66        247.66
Gloves                    4%         M         130.96        130.96         130.96        130.96        130.96
Sheet Protector           4%                    41.58         41.58          41.58         41.58         41.58
Disp Underpads            4%                   238.13        238.13         238.13        238.13        238.13
Reusable Underpads        4%                   155.88        155.88         155.88        155.88        155.88
Antibacterial Gel         4%                    95.40         95.40          95.40         95.40         95.40
AFOs                      4%     *
Hand/ Wrist Splints       4%     *
Reacher                   4%                    5.38           5.38          5.38           5.38          5.38
Allowance for Aids        4%                   50.00          50.00         50.00
Power WC                  4%     *
Power WC Maint            4%     *
Cushion                   4%     *
Cushion Cover             4%                    30.00         30.00          30.00         30.00         30.00
Manual WC                 4%                   249.64        249.64         249.64        249.64        249.64
Manual WC Maint           4%                    59.91         59.91          59.91         59.91         59.91
Cushion                   4%                    42.00         42.00          42.00         42.00         42.00
Cushion Cover             4%                    30.00         30.00          30.00         30.00         30.00
WC Pack                   4%                    12.00         12.00          12.00         12.00         12.00
Ramp                      4%                    11.60         11.60          11.60         11.60         11.60
Case Mngt                 4%         M       2,970.00      2,970.00       2,970.00      2,970.00      2,970.00
                                          Case 1:12-vv-00630-VJW Document 164 Filed 03/31/17 Page 21 of 21
                                                               Appendix A: Items of Compensation for Bailey Day                                                  Page 12 of 12


                                                  Compensation Compensation Compensation Compensation Compensation
  ITEMS OF COMPENSATION            G.R.   *   M     Year 30      Year 31     Years 32-46  Years 47-54 Years 55-Life
                                                     2046         2047       2048-2062    2063-2070    2071-Life
Counseling                         4%     *
Home Mods                          4%
Modified Van                       4%                   5,101.01        5,101.01         5,101.01         5,101.01        5,101.01
Ancillary Services: Housekeeping   4%         M         3,444.00        3,444.00         3,444.00         3,444.00        3,444.00
Ancillary Services: Lawn Care      4%                     392.40          392.40           392.40           392.40
Ancillary Services: Heavy Lawn
Care                               4%                     488.32          488.32           488.32           488.32

Ancillary Services: Snow Removal   4%                    289.87           289.87           289.87          289.87
Non-Skilled Care                   4%         M      170,820.00       170,820.00       170,820.00      170,820.00       170,820.00
Lost Earnings
Past Unreimbursable Expenses
Medicaid Lien
Annual Totals                                        198,164.06       198,298.83       197,883.71      190,995.11       189,824.52
                                                  Note: Compensation Year 1 consists of the 12 month period following the date of judgment.
                                                  Compensation Year 2 consists of the 12 month period commencing on the first anniversary of the date of judgment.
                                                  As soon as practicable after entry of judgment, respondent shall make the following payment to petitioner for Yr 1 life care
                                                  expenses ($305,186.22), lost earnings ($968,386.45), and past unreimbursable expenses ($10,255.47): $1,283,828.14.
                                                  As soon as practicable after entry of judgment, respondent shall make the following payment jointly to
                                                  petitioner and Anthem BCBS, Inc., as reimbursement for a State of Indiana Medicaid lien: $7,584.74.
                                                  Annual amounts payable through an annuity for future Compensation Years follow the anniversary of the date of judgment.
                                                  Annual amounts shall increase at the rates indicated above in column G.R., compounded annually from the date of judgment.
                                                  Items denoted with an asterisk (*) covered by health insurance and/or Medicare.
                                                  Items denoted with an "M" payable in twelve monthly installments totaling the annual amount indicated.
